Case 4:09-cr-00024-MFU         Document 150 Filed 07/23/13           Page 1 of 1 Pageid#:
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                      IN TH E U N ITED STA TE S D ISTR ICT C O U R T                JUL 23 2213
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U N ITED STATE S O F AM ERIC A                     Case N o.4:09-cr-00024-2

V.                                                 j2255M EM OM NDUM OPINION
W ILLIA M AL ON ZO TAY LO R ,                      By:    H on.Jackson L .K iser
       Petitioner.                                        SeniorUnited StatesDistrictJudge

       W illiam Alonzo Taylor,afederalinm ateproceeding pror ,filed am otion to vacate,set

asideorcorrectsentence,ptlrsuantto28U.S.C.j2255.Courtrecordsindicatethatpetitioner
tiledapriorj2255motionaboutthesnmeconvictionand/orsentence(ECF no.139)thatI
dismissed(ECFno.143).Thus,petitioner'scurrentj2255motionisasecond orsubsequent
oneunder28U.S.C.j2255(1$.
       A districtcourtmayconsiderasecondorsuccessivej2255motiononlyupon specifk
certitication from theFourth CircuitCourtofAppealsthattheclaim sin them otion meetcertain

criteria.See28U.S.C.j225541$.Aspetitionerhasnotsubmittedanyevidenceofhaving
obtained certitication from the United StatesCourtofA ppeals forthe Fourth Circuitto tile a

second orsuccessivej2255motion,Idismisspetitioner'sj2255motionwithoutprejudiceas
successive. Based upon m y finding thatpetitionerhasnotm ade the requisite substantial

showingofdenialofaconstitutionalrightasrequiredby28U.S.C.j22534c),acertificateof
appealability isdenied.

       The Clerk isdirected to sendcopiesofthisM em orandum Opinion andtheaccompanying

Orderto petitionerand cotmselofrecord forthe United States.
       ENTER: This . fpday ofJuly,2013.
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                                                   Seni United StatesD lstrictJudge
